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                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF SOUTH CAROLINA

                                     CHARLESTON DIVISION



UNITED STATES
  UNITED SATESOF
               OFAMERICA
                  AMERIC                                       CR. NO.:     2:19-cr-00441-DCN

         v.

Amir Golestan, MICFO LLC



                              ORDER GOVERNING DISCOVERY



  I.     GOVERNMENT’S AUTHORITY TO DISCLOSE GRAND JURY MATERIALS

         1.      Pursuant to Rule 16(a)(1)(B)(iii), Federal Rules of Criminal Procedure, upon a

  defendant’s request, the United States must disclose to the defendant his or her recorded testimony

  before a grand jury relating to the charged offense. The United States is also authorized, pursuant

  to Rule 6(e)(3)(E)(i), to provide to defense counsel the grand jury testimony of potential witnesses

  and any other grand jury material. The United States shall clearly identify all grand jury material

  as “restricted material” and shall maintain records of all grand jury matters.

         2.      The United States is further authorized to disclose to potential government trial

  witnesses the transcripts of those witnesses’ own testimony before the grand jury, as well as any

  grand jury material obtained from and/or relating to that witness; provided, however, that

  Government counsel may not release copies of such transcripts or other grand jury material into the

  custody of such witnesses or their counsel.

         3.      The United States is authorized pursuant to this order to disclose materials subject

  to the Privacy Act.
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II.    DEFENSE OBLIGATIONS CONCERNING THE HANDLING OF DISCOVERY

       4.        Defense counsel may disclose the contents of discovery materials to the defendant

subject to the following provisions. Counsel may allow the defendant to review discovery furnished

by the United States and labeled as “restricted material” in the presence of counsel or counsel’s

employees. Defense counsel shall not, however, provide the defendant copies of such restricted

material.

        5.       Restricted material or restricted discovery means and includes: 1) any Grand Jury

material, and 2) any other material deemed by the United States to require such special designation

because of security or privacy concerns. The Government shall clearly label such materials

“Restricted Access” and they shall be segregated from the contents of the other discovery materials

provided to counsel.

       6.        Copies of discovery materials not labeled “Restricted Access” may be provided to

the defendant.

       7.        Upon written request by the Government, defense counsel shall return all discovery

materials to the United States Attorney’s Office within 30 days of the final resolution. If defense

counsel believes that further retention of discovery materials is necessary, he/she may negotiate

retention with counsel for the Government. If an agreement cannot be reached, defense counsel may

seek the court’s permission to retain the materials.

       8.        Juror names, records, lists and questionnaires may not be disclosed to the public nor

shall a Defendant be given copies of such information, in compliance with standing order 3:11mc-

2153-DCN, governing the selection of jurors for the District of South Carolina.

       9.        Copies of communications that contain the email address, telephone number or other

identifying information of counsel, court officials or their staff, shall not be disclosed except with

the permission of those individuals, except for official filings.
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       10.    The Court may, at any time for good cause, deny, restrict, or grant other appropriate

orders regulating discovery.

       11.    Failure to abide by the restrictions of this Order may be punished by the court’s use

of its contempt powers.



                               IT IS SO ORDERED.




       June 3, 2019
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Charleston, South Carolina
